
9 A.3d 859 (2010)
417 Md. 330
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
John A. ELMENDORF, Respondent.
Misc. Docket AG No. 46, September Term, 2010.
Court of Appeals of Maryland.
December 16, 2010.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, John A. Elmendorf, Esquire, to disbar the Respondent from the practice of law.
The Court having considered this petition, it is this 16th day of December, 2010,
ORDERED, that Respondent, John A. Elmendorf, be and he is hereby disbarred from the practice of law in the State of Maryland.
ORDERED, that the Clerk of this Court shall strike the name of John A. Elmendorf from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
